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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                           CASE NO. 1:06-cr-00035-MP-AK

BRUCE DAVID ADAMS,

      Defendant.
________________________________/

                                          ORDER

       This matter is before the Court on Doc. 181, Motion to Continue Sentencing Hearing,

filed by Defendant Adams. In his motion, Defendant requests a continuance of his sentencing,

currently set for June 29, 2007. The Government does not object to the continuance. Therefore,

after considering the matter, the Court grants Defendant’s motion, and Defendant’s sentencing

is continued to August 2, 2007, at 11:00 a.m.



       DONE AND ORDERED this            12th day of June, 2007


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
